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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA
                                     (Alexandria Division)

In re:                                               )
                                                     )
COREY ASHFORD and                                    )     Case No. 17-13621-KHK
CAMILLE ASHFORD,                                     )     Chapter 13
                                                     )
         Debtors.                                    )
                                                     )
                                                     )
COREY ASHFORD and                                    )
CAMILLE ASHFORD,                                     )
                                                     )
         Plaintiffs,                                 )
                                                     )
v.                                                   )     Adversary Proc. No. 18-01026-KHK
                                                     )
PARTNERS FOR PAYMENT RELIEF                          )
DE II, LLC,                                          )
                                                     )
         Defendant.                                  )
                                                     )

                          DEFENDANT’S RESPONSE IN OPPOSITION TO
                           MOTION FOR SUMMARY JUDGMENT AND
                         MEMORANDUM OF POINTS AND AUTHORITIES

         COMES NOW, Partners for Payment Relief DE II, LLC (“PPR”) by and through its

undersigned counsel, and submits the following as its Response in Opposition (the “Response”) to

the Plaintiffs’ Motion for Summary Judgment (the “Motion”) and its supporting Memorandum of

Points and Authorities (the “Memorandum”).

                                                   RESPONSE

         Plaintiffs request that the Court grant them summary judgment on the basis that the value



William H. Casterline, Jr. (VSB No. 16277)
Jeremy B. Root (VSB No. 65885)
James R. Meizanis (VSB No. 80692)
BLANKINGSHIP & KEITH, P.C.
4020 University Drive, Suite 300
Fairfax, Virginia 22030
703-691-1235
703-691-3913 (facsimile)
jmeizanis@bklawva.com
Counsel to Defendant
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of their real property located at 134 Keating Circle, Stafford, VA 22554 (the “Property”) is

purported to be $260,000.00 and the secured claim for the holder of the first deed of trust is

$274,829.79, thus entitling them to avoid or strip off PPR’s second deed of trust.

       PPR, however, disputes the Plaintiffs’ valuation of the Property and affirmatively alleges

that the value of the Property is $285,000.00 as of October 24, 2017, based on an appraisal prepared

by C. Taylor Lewis, Jr. of Lewis Appraisal Services, LLC (“PPR’s Appraisal”). A copy of PPR’s

Appraisal is attached hereto as Exhibit A.

       Summary judgment should only be granted by the Court “if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Rule 56(a), Fed. R. Civ. P., as incorporated by Fed. R. Bankr. P. 7056. As discussed in the

Memorandum below, such a genuine dispute as to a material fact exists, in particular, whether the

fair market value of the Plaintiffs’ real estate exceeds the secured claim of the holder of the first

deed of trust. The Court, as trier of fact, must determine the true value of the Property in order to

determine whether PPR’s claim is unsecured and its lien may be avoided.

       Consequently, Plaintiffs are not entitled to judgment as a matter of law and the Court should

deny the Motion.

                                        MEMORANDUM

                                        Statement of Facts

       This case arises out of the Plaintiffs’ Complaint against Defendant, PPR, to avoid or strip

off PPR’s lien from the Plaintiffs’ residential real property titled “Complaint to Determine Secured

Status and Avoid Lien.” See Docket Entry #1.

       Plaintiffs are owners of residential real property located at 134 Keating Circle, Stafford,

Virginia 22554 (the “Property”). Plaintiffs value the Property at $260,000.00 as of November 7,




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2017, based on an appraisal attached to the Plaintiff’s Motion as Exhibit 1. The Property is

encumbered by a first deed of trust held by The Bank of New York Mellon f/k/a The Bank of New

York as Trustee for First Horizon Alternative Mortgage Securities Trust 2005-AA7 (the “First

Deed of Trust”). The amount of the secured claim for the First Deed of Trust is $274,829.79, as

evidenced by Proof of Claim #7 filed on December 28, 2017, which is attached to the Motion as

Exhibit 2.

       The Property is also encumbered by a second deed of trust held by PPR (the “Second Deed

of Trust”). The amount of the secured claim for the Second Deed of Trust is $46,593.15 as of the

date of the bankruptcy filing on October 25, 2017, as evidenced by Proof of Claim #5 filed on

December 13, 2017. A copy Proof of Claim #5 is attached hereto as Exhibit B. PPR’s Appraisal

values the Property at $285,000.00 as of October 24, 2017, which is attached as Exhibit A.

                                  Summary Judgment Standard

       Summary judgment shall be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Rule 56(a), Fed.

R. Civ. P., as incorporated by Fed. R. Bankr. P. 7056. The burden of establishing the nonexistence

of a genuine issue of material fact rests on the moving party. Celotex Corp. v. Catrett, 477 U.S.

317, 325, 106 S.Ct. 2548, 88 L.Ed.2d 285 (1985). In considering a motion for summary judgment,

the court should draw all inferences from the underlying facts in a light most favorable to the

nonmoving party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 2513, 91

L.Ed.2d 202 (1986); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 106 S.Ct.

1348, 89 L.Ed.2d 530 (1986).

                                          ARGUMENT

               THE PLAINTIFFS HAVE NOT MET THEIR BURDEN TO SHOW THAT
               THERE IS NO GENUINE DISPUTE OF MATERIAL FACT BECAUSE THERE



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                IS A CLEAR DISPUTE REGARDING THE VALUATION OF THE PROPERTY,
                WHICH IS A DETERMINATIVE FACT IN ADJUDICATING WHETHER THE
                PLAINTIFFS ARE ENTITLED TO STRIP OFF OR AVOID PPR’S LIEN
                UNDER 11 U.S.C. § 506(D).

        The Plaintiffs fail to allege in their Motion that there is no genuine dispute of material fact

which entitles them to judgment as a matter of law under Rule 56(a) of the Federal Rules of Civil

Procedure. Plaintiffs cannot make such an allegation because there is a clear dispute regarding the

valuation of the Property.

        Plaintiffs’ Motion ignores PPR’s answer, which denied the Plaintiff’s alleged Property

valuation of $260,000.00. See Docket Entry #8, ¶ 6 of PPR’s Answer. Further, not only does PPR

deny Plaintiffs’ allegation that the Property is valued at $260,000.00, but also PPR has presented

to the Court, in its Response, evidence of its basis for denial, which is its appraisal valuing the

Property at $285,000.00.

        The dispute between Plaintiffs’ valuation of the Property at $260,000.00 and PPR’s

valuation of the Property at $285,000.00 is a genuine dispute of a material fact. If the Court finds

that the value of the Property is greater than the lien of the Plaintiffs’ first lien deed of trust, then

Plaintiffs will not be entitled to a judgment which strips off or avoids PPR’s lien. See In re

Peterson, 2011 WL 111154 (Bankr. E.D. Va. 2011)(holding that a deed of trust that is supported

by even any equity cannot be avoided).

                                              Conclusion

        Since the Plaintiffs have not met their burden to show that there is no genuine dispute of

material fact they are not entitled to summary judgment against Defendant Partners for Payment

Relief DE II, LLC under Rule 56(a) of the Federal Rules of Civil Procedure.




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       WHEREFORE, Defendant, Partners for Payment Relief DE II, LLC, respectfully requests

that the Court deny Plaintiffs’ Motion for Summary Judgment with prejudice and grant such other

and further relief as this Court deems just and proper.

Dated: May 14, 2018                           Respectfully submitted,

                                              PARTNERS FOR PAYMENT RELIEF
                                              DE II, LLC

                                              By Counsel

/s/ James R. Meizanis
William H. Casterline, Jr., VSB #16277
Jeremy B. Root, VSB #65885
James R. Meizanis, VSB #80692
Blankingship & Keith, P.C.
4020 University Drive, Suite 300
Fairfax, Virginia 22030
(703) 691-1235
Counsel for Partners for Payment Relief DE II, LLC




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of May, 2018, a true copy of the foregoing
was served either electronically, via the CM/ECF system, and/or by United States first class
mail, postage prepaid, on the following:

 Corey Ashford                                  Robert R. Weed, Esq.
 Camille Ashford                                Law Offices of Robert Weed
 134 Keating Circle                             300 Garrisonville Rd., Suite 201
 Stafford, Virginia 22554                       Stafford, Virginia 22554
 Debtors                                        Debtors’ Counsel


                                            /s/ James R. Meizanis
                                            James R. Meizanis
